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                           UNTIED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


 Phillip Li,

                                                    Case No. 1:25-cv-00892-LDH-JRC
                      Plaintiff,

       v.                                           BANK OF COMMUNICATIONS
                                                    (HONG KONG) LIMITED’S
 Defendant 1, a/k/a “Annie”, an individual,         RULE 7.1 STATEMENT
 WDCEX.PRO, a business association,
 Standard Chartered Bank (Hong Kong)
 Limited, a business entity, Bank of
 Communications (Hong Kong), a business
 entity, Chong Hing Bank Limited, a business
 entity, Dah Sing Bank, a business entity,
 Chok Suet Ee, an individual, Chin Kean
 Leong, an individual, Lian Sing Trading Co
 Ltd, a business entity, Ho Ching Ng, an
 individual, Hong Kong Maoyexing
 Technology Ltd, a business entity, Cong Yu,
 an individual, Yuanchi Co Ltd, a business
 entity, Guanghai Jin, an individual, Vany
 Ltd, a business entity, Jianshe Li, an
 individual, Lixi Trading Ltd, a business
 entity, Xiaoli Hu, an individual, Nancheng
 Trade Ltd, a business entity, Xuegong Wang,
 an individual, RST Trade Ltd, a business
 entity, Wen Liu, an individual, Hailwic
 Trading Co Ltd, a business entity, Mingbo
 Liao, an individual, Sunstat Trade Limited, a
 business entity, Feifei Li, an individual,
 Hong Kong Newmoon Electronics Company
 Limited, a business entity, Maolin Feng, an
 individual, and John Does 1 – 20,


                      Defendants.



       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for defendant

Bank of Communications (Hong Kong) Limited (a private non-governmental party or intervenor)
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certifies the following:

       Part I:

Complete this portion in all cases.

Identify any corporate affiliates, subsidiaries, and/or parent corporation and any publicly held

corporation owning 10% or more of the stock of any non-governmental corporate party or

intervenor. If there are no such corporations, the form shall so state.

       Defendant Bank of Communications (Hong Kong) Limited is a wholly-owned subsidiary
       of Bank of Communications Co., Ltd. Bank of Communications Co., Ltd., in turn, is
       publicly listed on the Stock Exchange of Hong Kong and the Shanghai Stock Exchange.

       Part II:

Complete this portion only if jurisdiction is based on diversity of citizenship under 28 U.S.C.

§ 1332(a). Name and identify the citizenship of every individual or entity whose citizenship is

attributed to that party or intervenor for purposes of establishing jurisdiction based upon diversity

of citizenship (note: the citizenship of an L.L.C. is the citizenship of each of its members).

       N/A.



Dated: July 1, 2025                                   Respectfully submitted,
       New York, New York
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                                                      Communications (Hong Kong) Limited




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